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   LISITSA and LISITSA LAW, INC.
 7
 8                       UNITED STATES BANKRUPTCY COURT
 9 CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION
10
11 In re                                        CASE NO. 1:20-bk-11006
                                                Adv. No, 20-ap-01065-VK
12 Lev Investments, LLC,
                                                Chapter 11
13               Debtors.
                                                DEFENDANTS' REQUEST FOR
14                                              JUDICIAL NOTICE IN SUPPORT
     LEV INVESTMENTS, LLC,                      OF PLAINTIFF'S MOTION FOR
15                                              ABSTENTION AND TO REMAND
                 Plaintiff,                     ACTION TO STATE COURT
16
           vs.
           vs.                                  [Filed and Served Concurrently with
17                                              Memorandum of Points and Authorities
     RUVIN FEYGENBERG, et al.,                  in Response; and Declaration of Lisa D.
18                                              Angelo]
                 Defendants.
19                                              Date: August 12, 2020
                                                Time: 1:30 p,m,
20                                              Crtrm: Courtroom 301
                                                       21041 Burbank Blvd.
21                                                     Woodland Hills, CA 91367
22
23                                             I.
24                                     INTRODUCTION
25         Cross-Defendants, GINA LISITSA and LISITSA LAW, INC, ask the Court to
26 take judicial notice of the following attached documents:
27         1.    State Court Docket entitled Lev Investments, LLC vs. Ruvin Feygenberg,
28

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 1 et al., Los Angeles Superior Court Case No. 19VECV00878 as Exhibit "A".
 2         2.    Cross-Complaint in the State Court Action entitled Lev Investments, LLC
 3 vs. Ruvin Feygenberg, et al., Los Angeles Superior Court Case No. 19VECV00878
 4 filed on March 20, 2020, as Exhibit "B".
 5         3.    Complaint for Damages filed in the State Court Action entitled Michael
 6 Leizerovitz, Ruvin Feygenberg, et al., vs. Yevgeniy A. Lisitsa, et al., Los Angeles
 7 Superior Court Case No. 20STCV03696, as Exhibit "C".
 8         4.    Notice of Related Case filed in the State Court Action entitled Lev
 9 Investments, LLC vs. Ruvin Feygenberg, et al., Los Angeles Superior Court Case No.
10 19VECV00878, as Exhibit "D".
11         5.    Complaint filed in State Court entitled Ayzenberg v. Lev Investments,
12 LLC, Dmitri Ludkovski, Ruvin Feygenberg, Michael Leizerovitz, Sensible and Does 1-
13 30, Los Angeles Superior Court Case No. 19STCV38222, as Exhibit "E".
14         6.    Complaint filed in State Court entitled FR LLC v. Lev Investments, LLC,
15 Dmitri Ludkovski, Ruvin Feygenberg, Michael Leizerovitz, Sensible and Does 1-100,
16 Los Angeles Superior Court Case No. 19STCV45132, as Exhibit "F".
17         Cross-Defendants also respectfully request the Court take Judicial Notice of the
18 documents and pleadings filed in these proceedings, as well as those in the U.S. District
19 Court and Los Angeles Superior Court.
20                                            II.
21                                      ARGUMENT
22         Under the Federal Rules of Evidence, Rule 201, the Court may judicially notice
23 a fact that is not subject to reasonable dispute, because it: "(1) is generally known
24 within the trial court's territorial jurisdiction; or (2) can be accurately and readily
25 determined from sources whose accuracy cannot reasonably be questioned." Federal
26 Rules of Evidence, Rule 201(b). The pleadings, files and dockets of this Court, the U.S.
27 District Court and the Los Angeles Superior Court are therefore, proper subjects for
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 1 judicial notice.
 2 DATED: July 24, 2020              MURCHISON & CUMMING, LLP
3
 4                                   By:         /s/ Lisa D. Angelo
                                                 /s/
 5                                         Lisa D. Angelo
                                           Gina E. Och
 6                                         Attorneys for Cross-Defendants, GINA
 7                                         LISITSA and LISITSA LAW, INC

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
801 South Grand Avenue, Ninth Floor, Los Angeles, CA 90017

A true and correct copy of the foregoing document entitled (specify):
                                                           (specify): DEFENDANTS' REQUEST FOR JUDICIAL NOTICE
IN SUPPORT OF PLAINTIFF'S MOTION FOR ABSTENTION AND TO REMAND ACTION TO STATE COURT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 24, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Katherine Bunker, kate.bunker@usdoj.gov
John Burgee, jburgee@bandalaw.net
Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
C190@ecfcbis.com; sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
David B Golubchik dbg@lnbyb.com,
                   dbg@Inbyb.com, stephanie@lnbyb.com
                                     stephanie@Inbyb.com
 United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
davidtilem@tilemlaw.com;
DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;DianaChau@tilemlaw.com
DavidTilem@ecf.inforuptcy.com  joanfidelson@tilemlaw.com;JoanFidelson@ectinforuptcy.com;DianaChau@tilemlaw.com

                                                                                       ❑    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

None


                                                                                       ❑    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)July 24, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Hon. Victoria Kaufman, Judge Presiding                                      Lev Investments, LLC
 Central District of California                                             13854 Albers Street
 21041 Burbank Boulevard                                                    Sherman Oaks, CA 91401
 Woodland Hills, CA 91367

Ming Zhu LLC
                                                                                       ❑ Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 24, 2020           Michelle L. Fisher                                                     /s/ Michelle L. Fisher
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
